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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

Criminal Case No. 16-cr-00199-CMA

UNITED STATES OF AMERICA,

       Plaintiff,

            v.

JOSE GERARDO VILLEGAS-TARIN,

       Defendant.



                                ORDER
______________________________________________________________________


       THIS MATTER, having come on for consideration of the defendant’s written

Motion for Production, and the Court’s being fully advised in the premises,

       NOW, THEREFORE, IT IS ORDERED that the defendant’s motion for

production, calling for the government’s production of the materials identified in

paragraphs 1 – 3 therein referenced, be, and hereby is, granted.

       DONE this ___ day of _______, 2016

                                          BY THE COURT:




                                          CHRISTINE M. ARGUELLO
                                          UNITED STATES DISTRICT COURT JUDGE

cc: Counsel of Record
